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                    EXHIBIT 9
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   From:                                       david shen <syntadavid @163.com >
   Sent:                                       Thursday, December 12, 2013 6:36 PM
  To:                                          kmnwj;
  Subject:                                     Re:.~: ~.~---]~t~-T~ IWage verification of Meade

                i was told and convinced previously that you were not using this email. Thats why you have not received my reply. 1
                changed some contents from Director Qi.
                1 believe that since you have mentioned issues regarding sunny hk listing to dave & laurence previously, ~at is
                probably the reason they don’t understand SUNNY’s lack of money, in addition, Americans are very intuitive, not
                as complicated as we are. I believe that he understands that Director Ni will not be a competitor and is trustworthX
                when it comes to business.
                Dave’s concern in his letter is: because celestron provided a full-year income and expenditure budget to the bank
  dave          due to applying for a loan fi’om the bank, and the budget was used as the basis for the loan approval, now celestron’s
                application for early paymem to sunny is a violation of the commitment which was made to the bank previously. If
  celestron
                the payment is made early for a period of only a few months, celestron may claim it as an Lnterim act. If the early
                payment continues next year, the bank may consider it as a risk which would affect the amount of loan fi:om the
  ~ sunny       bank to celestron next year. If so, celestron will face a situation havingless money available, then it would be more
                difficult to pay sunny and SYNTA. To apply for a loan in the U.S. is a serious issue. I confirm the above is all true. ;elestron
                  think Director Ni should meet with Dave to reach a more tacit understanding. The following issues: 1. Payment
  synta
           ~eriod for the year of 2014 may be changed from 100 days to 70/60/45 days, celestron’s payment to synta can be
           ~ostponed; 2. Prior communication is needed for the sake of mutual trust, otherwise, if’they reach a consensus with
  g~ MEAl COSTCO, you and i ~ suffer.
  MEADE ~ Everyone has his own ideas regarding how to manage MEADE. Myletter serves only as a reply to you. I can give
          nothing more than suggestions. It is easy for MEADE to make ends meet. Considering what
          risky, I give you some pieces of advice. This is what i can do.
          In addition, ifl were the one involved, I will move MEADE to San Diego, and downsize. Of course, everyone has
                ais own logic. I just give my suggestion.



                Hi Director Ni,
                Please check below and pay special attention to the highlighted text (and forward to Qi and Xiaochen).
                Since I have no experience with LXS0, I am not clear about it. I have no comments regarding contents hereinafter. But, in
                relation to members of a team, a far-reaching vision may be required. You only know it when you have rich experience
                with man}, things.
                We all have verylimited hmnan resource, so we need to know line possible outcomes before making a decision on the
                foregoing things, otherwise, we make everything in vain.
                IMis sentence: At present, two VMI samples are placed in Mexico, but the samples contain no circuit board, and cannot
                run. Do we need to send them to Sunny Electronics? Does Broadcom also not have it?
                [fit is handed to Synta for further research, Synta needs to redevelop the electronic software. We suggest that after Meade
                  turned into a normal operation, it may outsource a supplier to complete the final stage of the electronic software
                design. I am not very suitable to express my opinions on the foregoing.
                Electronic research and development, etc.. This is not a urgent trouble ~ooting issue but a long-term maintenance issue,
                and a resource sharing issue. If the technical support to Meade is not provided by synta (LS believes that Canada can do
                it), then you have to continue to outsource to an external party. I think you, Director Ni, need to make this decision and
                give the instructions.
                LS products: Please send a correct product to Canada (attached with circuit diagram and broken electronic board).
                There are electronics whicb are stronger than that of CELESTRON. The earlier we send, the earlier we can resolve the
                problem. Change to the electronic parts will be made by ic and it takes alot of time to run a couple of tests. Please do it
                quickly and effectively.
                6" and 8 ~ future lens barre!: It is possible to be produced by Suzhou, but whether 0r not we shoukt let Suzhou do it
                from the beginning.., but first let China/Mexico do it to~ether. For the optical parts, a diagram is needed first before
                malting the sample. The fastest way requires 6-7 months. Generally, from startup to the launch of a product is not a fast
                process.




HIGHLY CONFIDENTIAL                                                                                                                            NSE2673424




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          Broadcom Lxe0 products
          .regarding LX80 qnality and design ~ues, let the engineering department sort out the data related to product problems;
          -regarding LX80 order and Broadcom delivery, let the purchasing dept sort out the relevant information;
          - following getting the 2 pieces of data, I will discuss with Director Qi regarding how to respond to Broadcom;
            At present, discontinuing sales of LX80 has been confirmed, and fl~e engineering department has begun to redesign a new
           ~rogram called VM1;
           LXe0s structure components may be altered into VM1 products, but the design of VM1 electronic software has not been
          :ompleted yet. Since it demands many R&D resources, Meade therefore temporarily discontinues the R&D.
          - If it is handed over to Synta for further research, then Synta needs to redevelop the electronic soRware, and it is not
          .~conomical by doing so. It is suggested that after Meade is turned into a normal operation, it may outsource a supplier to
          :omplete the final stage of electronic software design.
          - At present, two samples ofVM 1 are placed in Mexico, but the samples contain no ckcuit board, and cannot work. Does it
   BOI L~ ~till need to be sent to Sunny Electronics~.



              ¯ LS is one of Meade’s best-selling products, with sales of more than 2,000 units in the past year;
              ¯ for the existing version of LS produced by BOI, some electronic components are more difficult to get since the original factory
            has stopped production;
              ¯ Meade has developed a new version ofLS, butit has not yet completed, and still needs to invest more R&D resources¯
            After discussing with Joe, we think the best ~olution is as follows:
            - Meade’s most important task at the moment is to make moneyand to produce products and to sell them in the market.
            - At present, when I asked my engineers to ask the electronic parts wholesalers about how many out-of-stock components are
            available in the ~cond-hand market, they told me that there should be enough components for more than one thousand units,
            and the quality of such components should have no problem. However, the short-term act needs to be taken over by Canada
            immediately, otherwise it will cost time.
            - The~e out-of-stock electronic components should be temporarily provided to BOI by Meade rallner than Synta;
            - We will then provide Synta with annual production estimate based on the quantity of components that we are able to purchase,
            then Synta will cow.sider whether the output is econornically beneficial_ If it is less than 1,000 units, it will be dit~cult to start up.
            - IfSynta can do it, we will start mass production and complete design of the new version;
            - IfSynta does not do it, we may consider temporarily stopping the product’s R&D, and complete the final stage of electronic
            software design after it is turned into a normal operation.
              ’ Previously, BOI only produced the mount bracket par which was then shipped to Meade, and assembled with the lens barrel
            produced in Mexico.
              ’ Later, we believe that Synta is able to produce 6" and 8" glasses, that is why we talked with Synta whether they are willing to
            produce the complete LS products and deliver the whoIe device. Synta has many business to do and Meade reduced costs.
            Guansheng Light Bridge: since the quantityis not large, we recommend that the best solution is to let Taiwan continue the supply
            or to stop selling this model (please supply the quantity for one year’ s demand)
                Guansheng is an OEM of Light Bridge for Meade’ s Dubson Telescope
              ¯ Sy~ta has strong tedmical capabilities for the Dubson telescope. I would like to ask Director Ni if Synta is willing to be as OEM
            of Meade for the Dubson Telescope? Or OEM delivery sen’ice?
            Broadcom 5000 Telescope order
              ¯ Both sides made mistakes for this order;
              ¯ Before Meade’ s acquisition, Broadcom required Meade to prepay 100% oftbe order before it was willing to ship 5000 sets to
            Costco;
                In order to maintain the relationship with Broadcom, our suggestion is to find a way to sell this order, but the quantity is too
            large to be sold in the ordinary market;
                There are currenlty several alternatives for discussion at the same time;




HIGHLY CONFIDENTIAL                                                                                                                                      NSE2673425




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                        Change the product to a Cl~ese version and let aerospace sell it to the Chinese market
                        Discuss cooperation plans with A~tralian distributors
                        Bidding with Costco between May and June (compete with Celestron for the price). This is a veryimportant issue. This needs
                       )hector Ni to communicate face-to-face with DAVE when he goes to the United States. Don’t bid. If you let the thing go by
                      doing this, how wo uld you deal with ever),tl~g in the future? All products are produced by sunny. Following a conflict,
                      :elestron would not trust sunny any longer.
                      - Going back to the risk arising out of forwarding SYNTA’s order to Boguan Iinghua 8 years ago, it maybe not happen. But they
                      ~rould think that there is no value to fight for the Company. Most of CELESTRONs senior executives left because they are
                 0
                      Americans who live for their dreams.
                 o    - we recommend that Director Ni person~ly take the two actions concurrently, by selling the products to outside China and the
                      United States, or meet with CELESTRON DAVE to resolve difficulties and make every effort to get order from COSTCO.
                 0
                        it is worth it to affect the whole thing and personal communication is more important.
                        If we win the bid, it is expected to ship to Costco in September and produ~ payable may be received from Costco by the end of
                       ~ext year,
                        Ask Broadcom to give us a one-year time to sell the products, and payment in 12 installments.
                           After the solution is tLnalized, I will discuss with Director Qi regarding how to ask for Botong’s support, reduce the parchase
                      price and make the payment period longer.
                      These issues have been discussed with Director Qi and Joe, and it takes time to sort them out. I will keep you informed of any
                      updates.




  -,~ ~ ~JI ~ ~-~-[Unfold quoted texts-I




     2013-12-13 08:32:17, kmnwj <kmnwjC~,sunn¥-optics.com> ~;




           Joe ~~}~ 2014 ~g~T.N:~g,


             Director Ni,
            IAttached is the Meade’s wage budget for 2014
            Ifrom Joe for your review.
            IQi Yong




HIGHLY CONFIDENTIAL                                                                                                                              NSE2673426




                                                                                                                                TRIAL EXHIBIT 1769.003
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  From:                    david shen <syntadavid@163.com >
  Sent:                    Thursday, December 12, 2013 6:36 PM
  To:                      kmnwj; J~B~
  Subject:




HIGHLY CONFIDENTIAL                                                                       NSE2673424

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   BOI LS ~




                                Light Bridge I~’~




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    2013-12-13 08:32:17, kmnwj <kmnwi@sunny-optics.com> ~A:




   kmnwj



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